
17 So.3d 980 (2009)
Robert Thomas McGREGOR, Ruth S. McGregor, Individually and on Behalf of Her Deceased Husband, Donald McGregor
v.
HOSPICE CARE OF LOUISIANA IN BATON ROUGE, LLC, Hospice Care of Louisiana, Inc., the Hospice Foundation of Greater Baton Rouge, d/b/a Hospice of Baton Rouge, Dr. Gerald P. Miletello, Dr. Georgia Reine, Cynthia Logan, Melanie Hyatt, Kathryn Braud.
No. 2009-C-1232.
Supreme Court of Louisiana.
September 18, 2009.
Denied.
